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  EXh~b:t - F                smobley(2).txt


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  1
  2              IN THE COURT OF COMMON PLEAS
  3       FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
  4               CRIMINAL TRIAL DIVISION
  5
  6

  7   COMMONWEALTH
  8       vs.
  9   SHAWN MOBLEY            :CP-51-CR-0003485-2016
 10
 11                     April 28, 2017
 12      courtroom 704, criminal Justice center
 13             Philadelphia, Pennsylvania
 14
 15                  MOTION RECONSIDERATION
 16
 17
 18
 19   BEFORE:   THE HONORABLE VINCENT MELCHIORRE, J.
 20
 21
 22

 23
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                                                             2
  1
  2   APPEARANCES:
                                 Page 1
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                          smobley(2).txt
   3 ZACHARY WYNKOOP, ESQUIRE
     Assistant District Attorney
   4 For the commonwealth
   5   BERTO ELMORE, ESQUIRE
       counsel for the Defendant
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   1                 COMMONWEALTH vs. MOBLEY
   2                 MR. ELMORE:     Good morning, Judge.
   3                THE COURT:     Good morning.
   4                 All right.    We're here on case No.
   5              1, Shawn Mobley.     Mr. Elmore is here
   6             for the defense, and zach Wynkoop for
   7             the commonwealth.
                                   Page 2
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                          smobley(2).txt
   8               This is defense's motion for
   9             reconsideration filed, based on the
  10            motion to suppress and that was heard
  11            in this courtroom on April 3rd, 2017.
  12               MR. WYNKOOP:     That's correct, Your
  13            Honor.
  14               THE COURT:     Mr. Elmore, you may
  15            proceed.
  16               MR. ELMORE:     Judge, I filed this
  17            motion because I felt this court had
  18            erred on the law based on the facts.
  19               As the court knows, and I have
  20            presented two cases or three cases.        I

  21             know the court has read those.
  22               I    think that what we have here is,
  23            well, these cases talk about       one of
  24            the first things I want to talk about,


                                                               4
   1               COMMONWEALTH VS. MOBLEY
   2            Judge, is the law.     And the two cases
   3            presented are supreme court cases
   4            commonwealth vs. Roland, and
   5            commonwealth vs. Melendez.
   6               Now I tried to find cases that I
   7            think are similar to our situation as
   8            possible, and that was with
   9            commonwealth vs. Roe which is a
  10            superior court case, and I talk about
  11            an open door and I also talk about
  12            finding an item --
  13               THE COURT:     Mr. Elmore, remember,
                                 Page 3
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                           smobley(2).txt
  14             that was a stormy night.
  15                MR. ELMORE:     Yes, the door was
  16             open --
  17                THE COURT:     Right.
  18                MR. ELMORE:     -- and they walked in.
  19                THE COURT:     Right.
  20                MR. ELMORE:     And in that situation
  21             the superior court said, that was not
  22             enough.
  23                THE COURT:     Exactly.     And I would
  24             agree with the superior court.


                                                                  5
   1                COMMONWEALTH VS. MOBLEY
   2                MR. ELMORE:     And in this particular
   3             situation we have some prior
   4             communications between my client and
   5             the police officers.       I think that it
   6             is clear that they did two things.
   7                The record reflects that the officer
   8             said they -- on Page -- I have the page
   9             here, Page 14.
  10                THE COURT:    What line?
  11                MR. ELMORE:     Line 2, Judge.
  12                THE COURT:    Okay.
  13                MR. ELMORE:    It   says, "so at that
  14             point the door was unlocked.        I went
  15             back into the basement with the
  16             defendant along with officer Lee.         when
  17             I went down into the basement I smelled
  18            what I believed to be burnt marijuana."
  19               THE COURT:     You're on page?
                                  Page 4
Case 2:18-cv-00924-PD     Document 15-3         Filed 05/03/18   Page 5 of 27




                          smobley(2).txt
 20                MR. ELMORE: I don't know.            Do you
 21             all have the same thing?
 22                THE COURT:     I    have on the bottom of
 23             Page 14 --
 24                MR. ELMORE:         That's how I went


                                                                 6
  1                COMMONWEALTH VS. MOBLEY
  2             through it.     I was at the bottom of the
  3             page.
  4                I don't know.        Do you have the same
  5             page I have?
  6                THE COURT:     Page 14 on the very
  7             bottom?
  8                MR. ELMORE:        Yes.
  9                THE COURT:     Go ahead.
 10                MR. WYNKOOP:        so on the bottom of
 11             Page 13, Your Honor.
 12                MR. ELMORE:        Yes.
 13                THE COURT:     okay.
 14                MR. ELMORE:        "so at that point the
 15             door was unlocked.           I went back into
 16             the basement with the defendant along
 17             with officer Lee.        When I went down
 18             into the basement I smelled what I
 19             believed to be burnt marijuana."
 20                And on Page 14, it says, "After
 21             smelling the burnt marijuana in the
 22             basement does the defendant remain in
 23             the basement? "
 24                "Yes.     He was looking around for, he


                                 Page 5
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                            smobley(2).txt
                                                              7
  1                COMMONWEALTH VS. MOBLEY
  2             said his keys.     Your Honor, I remember
  3             when I went down, on the right-hand
  4             side, there was, it looked like
  5             shelving there, was a set of keys
  6             hanging.    I did notice the defendant
  7             walked by them and not grab them --
  8             this is the answer -- he seemed to be
  9             pacing back and forth."
 10                "He stated to me -- he stated to me
 11             that he thought the tenants stole his
 12             keys, and I told him that I didn't
 13             believe that happened because I hadn't
 14             seen anyone go to the basement, and I
 15             pointed out, I said, "Are those your
 16             keys right there?"     And just real quick
 17             he said "oh, yeah, they're mine," and
 18             we exited the basement."
 19                And then on Page 15, the officer
 20             stated -- I got a page out of place
 21             here.
 22                It   says:   "QUESTION:    Okay' what
 23             were you looking for down there, when
 24             you returned to the basement?


                                                              8
  1                COMMONWEALTH VS. MOBLEY
  2                Just something to secure the door.
  3             Because it looked like he, you know,
  4             being the landlord, I was kind of
  5             hoping to find something to secure the
  6             door with."
                                 Page 6
Case 2:18-cv-00924-PD          Document 15-3    Filed 05/03/18    Page 7 of 27




                                 smobley(2).txt
  7                  And then if you go further down it
  8             says, "I went back into the basement,
  9             Your Honor,        I   started noticing more so
 10             than the burnt marijuana smell,          I

 11             started smelling unburnt marijuana."
 12                  Now, Judge, this is somebody that,
 13             "I   started smelling."         He's a police
 14             officer, so to say the fact that he's
 15             smelling this marijuana and he's
 16             walking around the basement, the last I
 17             checked it was i 11 egal .
 18                  And then it says "I was walking just
 19             looking for something to secure the
 20             door.      I    noticed in the back in the
 21             other part of the basement, there was a
 22             desk and I saw unused packaging."
 23                  so he's looking all the way in the
 24             back of the basement, looking for


                                                                  9
  1                  COMMONWEALTH VS. MOBLEY
  2             something to secure this door.          That's
  3             looking.         That's searching.
  4                  so under what authority does he have
  5             a right to go into a private area and
  6             search?
  7                  And then, Judge, we talk about
  8             probable cause.          Probable cause arises
  9             if there is, in fact, a crime.
 10                  I   think that at the most, basically
 11             he's saying, there's no crime here,
 12             he's saying it's not a crime, but he's
                              Page 7
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                           smobley(2).txt
  13            saying just ignore that,    I   didn't care
  14            about that.    But do you have a right to
  15            go in someone's house and search when
  16            there's no crime, there's no probable
  17            cause?
  18               so, Judge, at this point -- and I
  19            believe Melendez says, police can't
  20            create exigent circumstances.       so it's
  21            easy to say that the crime had taken
  22            place and I had probable cause,
  23            probable cause is here but there's no
  24            crime, then there's no probable cause.


                                                              10
   1               COMMONWEALTH VS. MOBLEY
   2            so we move forward to exigent
   3            circumstances.
   4               Now, both Melendez and in
   5            particular, Roland, talks about exigent
   6            circumstances.   And in Roland it says
   7            it's private if there is a presumptive
   8            unreasonableness to go in somewhere
   9            private without a warrant; that's the
 10             first thing.
 11                The second thing, Judge, is that
 12             they talk about a list of factors, and
 13             Commonwealth vs. Roland, in terms of
 14             reasonableness, you got to have
 15             probable cause and you got to have
 16             exigent circumstances, and the factors
 17             they talk about, among the factors, the
 18             gravity of the offense, whether we have
                              Page 8
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                              smobley(2).txt
  19             an offense here in this case, yes or
  20             no?
  21                   THE COURT:    can I see those?
  22                   MR. ELMORE:    Yes.     And I don't see
  23             those here.        I don't see a crime here.
  24            You don't have any permission by the


                                                                    11
   1                   COMMONWEALTH VS. MOBLEY
   2             client and he testified that in the
   3            notes that, he testified:
   4                   "Did he give you permission to go
   5            into the basement?           No."
   6                   "Did he ask you to lock the door?
   7            No."
   8                  This is a government action.           This
   9            is not a neighbor.           That's why we have
  10            the amendment to protect citizens
  11            against the government.              so a
  12            government actor, you just can't walk
  13            in and say, I'm going to go over to
  14            this guy's house and I'm going to roll
  15            into this guy's house, and I'm going to
  16            lock his door?
  17                   Did he tell you to lock the door?
  18            No.      so what are you doing walking
  19            around his basement, walking around in
  20            his private residence?              It's clear in
  21            the notes of testimony that he did not
  22            have permission.
  23                  And it's clear that he went in there
  24            to lock a door. what was he going to
                              Page 9
Case 2:18-cv-00924-PD    Document 15-3      Filed 05/03/18        Page 10 of 27




                              smobley(2).txt


                                                                  12
   1                COMMONWEALTH VS. MOBLEY
   2             lock it with?     He didn't have a key.
   3                Is it reasonable to suggest, well,
   4             he's going to find something in
   5             somebody's house to lock the door?          He
   6             also could have gotten the keys from
   7             he knew that my client wasn't there?
   8                we can not take away a person's
   9             privacy rights because a police officer
  10             says, well, I decide I want to lock a
  11             door.   That's not exigent circumstances
  12             under any situation.
  13                If they wanted to protect the
  14             situation they could have did it with
  15             less intrusive way; waited to contact
  16             my partner, to see if he had his phone
  17             number to see if he came back, but you
  18             can't just open the door and start
  19             searching and in the notes of
  20             testimony, he said he was looking and
  21             there was an objection; he was
  22             searching.    Looking, searching they're
  23             basically the same thing.      He was
  24             conducting a search.      He was looking


                                                                  13
   1                COMMONWEALTH VS. MOBLEY
   2             for something.
   3                Judge, I don't see how the law
   4             protects this issue in terms of there
                                 Page 10
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                           smobley(2).txt
   5             is no probable cause and there's no
   6             exigent circumstances, and you have to
   7             have both.   There's certainly no
   8             exigent circumstances to go inside a
   9             house to lock a door.
  10                In Melendez very clearly, the
  11             holding in Melendez is the police can
  12             not create exigent circumstances.
  13                so, I don't know whether exigent
  14             circumstances -- I asked him very
  15             clearly and the notes say I asked was
  16             anybody screaming --
  17                THE COURT:     I understand, counsel.
  18             I got it.
  19                MR. ELMORE:     All right.
  20                THE COURT:     I got it.
  21                MR. ELMORE:     Judge, I think that I'm
  22             correct -- the two cases I gave to the
  23             court and commonwealth vs. Roe, I think
  24             they're all on point, and I would ask


                                                             14
   1                COMMONWEALTH VS. MOBLEY
   2             the court to reconsider and grant the
   3             motion to suppress.
   4                THE COURT:     Commonwealth, do you
   5             have anything additional?
   6                MR. WYNKOOP:     I have argument based
   7             on counsel's case law.
   8                THE COURT:     Okay.
   9                MR. WYNKOOP:     Just briefly, Your
  10             Honor, I just want to put my three
                                 Page 11
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                           smobley(2).txt
  11             points on the record.
  12                THE COURT:     GO ahead.
  13                MR. WYNKOOP:     I think the first one
  14             I'd like to put on the record for
  15             submission is that the case law here is
  16             not at all analogous with the situation
  17             we're dealing with.
  18                I would agree with counsel that the
  19             exigent prong laid out in both Roland
  20             and Roe are correct and the court ruled
  21             correctly there; but these cases are
  22             not analogous to what we have here.
  23                Just mostly what I want to hit on is
  24             Mr. Elmore's assertion that looking for


                                                             15
   1                COMMONWEALTH VS. MOBLEY
   2             something and searching are basically
   3             the same thing.
   4                In this courtroom and every
   5             courtroom in this building they are a
   6             hundred percent not the same thing.
   7             Searching is a legal term of art.      A
   8             search is something a police officer
   9             will perform in the hopes of finding
  10             contraband, weapons, narcotics, et
  11             cetera, and so forth.
  12                Looking for, on the other hand,
  13             officer Farley, he was returning to the
  14             house where a landlord tenant dispute
  15             had just occurred, where both parties
  16             had agreed to padlock the door with a
                                 Page 12
Case 2:18-cv-00924-PD   Document 15-3      Filed 05/03/18   Page 13 of 27




                          smobley(2).txt
 17             chain and a lock that both parties had
 18             had a key to, and after that agreement,
 19             this gentleman right here disappeared
 20             and so did the chain.
 21                officer Farley took it upon himself,
 22             rather than 11:00 at night leaving the
 23             basement door wide open, rather than
 24             doing that, officer Farley served the


                                                            16
  1                COMMONWEALTH VS. MOBLEY
  2             community, and entered the basement
  3             that he had already been given
  4             permission to go in to, to see if he
   5            could find that chain and locks so Mr.
  6             Mobley's personal property is not
  7             destroyed.
  8                And lastly, Your Honor, exigent
  9             circumstances to search, as soon as he
 10             sees the unburnt large quantities of
 11             marijuana, officer Farley, he does not
 12             continue looking.
 13                so Officer Farley did not go in the
 14             basement for a search, that's a legal
 15             term of art, but rather went into the
 16             basement to help the defendant.
 17                so for those three reasons I would
 18             ask Your Honor to deny the motion for
 19             reconsideration.
 20                THE COURT:    Thank you.
 21                All right.    I   have read all three
 22             cases and I agree that in this
                                Page 13
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                           smobley(2).txt
  23             particular case, there isn't reasonable
  24             suspicion, there isn't probable cause,


                                                            17
   1                COMMONWEALTH VS. MOBLEY
   2             or exigent circumstances but that's not
   3             the facts of this case.
   4                The facts of this case is the
   5            officer responds to the dispute and as
   6             a resolve of that dispute he has a key
   7             to enter the basement.     The landlord
   8             and the tenant give him permission to
   9             go in the basement.
  10                The landlord actually invited the
  11            officer in, on the first go around.
  12            There's a padlock and there's a chain.
  13                After that agreement, the door was
  14             left open, the police officer was
  15            outside with the tenant and the
  16            defendant disappears.      The tenant has
  17             permission to be in the basement as
  18            well as the landlord.
  19                The landlord never revoked his
  20            permission.    Permission trumps
  21             reasonable probable cause and exigent
  22            circumstances.    The owner never
  23             revoked.   The tenant had a right to
  24            give permission if there's an agreement


                                                            18
   1                COMMONWEALTH VS. MOBLEY
   2            that a chain and a lock would be on it,
   3            both people would have keys, that was
                             Page 14
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                            smobley(2).txt
   4             never resolved, so that was never
   5             revoked.
   6                I've read all three of the cases,
   7             Roe, Roland and Melendez, and they are
   8             totally factually different from this
   9             case.   Which there is nothing similar
  10             to those three instances where the
  11             police, on their own, decide to enter a
  12             property with no dialogue of the owner
  13             except for the underage drinking case.
  14                And in this case permission was
  15             given by the owner and he also had the
  16             right to give permission, the door was
  17             left open, the chain was missing.     The
  18             officer went in to look for the chain,
  19             not to search the property.
  20                For that reason I will deny the
  21             motion for reconsideration; and the
  22             motion to suppress is denied.
  23                Thank you.
  24                (Pause.)


                                                             19
   1                COMMONWEALTH VS. MOBLEY
   2                MR. ELMORE:    Judge, my client wants
   3             to waive and we're asking for a recusal
   4             to go in front of another judge.
   5                THE COURT:    sure, in an abundance of
   6             caution.
   7                It's going to be a waiver?
   8                MR. ELMORE:   Yes.   It's going to be
   9             a waiver, Your Honor.
                               Page 15
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                           smobley(2).txt
  10                THE COURT:    Well, let's, while he's
  11             here, let's do the waiver colloquy and
  12             then I'll send it to another room on
  13             another date.
  14                Do you have the waiver colloquy form
  15             filled out, Mr. Elmore?
  16                MR. ELMORE:    Yes.
  17                (Pause.)
  18                THE COURT:    Okay.   Good morning
  19             again, Mr. Mobley.
  20                THE DEFENDANT:    Good morning.
  21                THE COURT:    Is he sworn?
  22                THE CRIER:    Let me do that, Judge.
  23                sir, please state your name and
  24             spell it for the court.


                                                             20
   1                COMMONWEALTH VS. MOBLEY
   2                THE COURT:    Pull that mic closer to
   3             you.
   4                THE DEFENDANT:    Shawn Mobley,
   5             s-h-a-w-n, M-o-b-1-e-y.
   6                THE COURT:    Good morning, Mr.
   7             Mobley.
   8                As you are aware, I have denied the
   9             motion to suppress and the motion for
  10             reconsideration, and after those two
  11             things were done I had asked your
  12             attorney whether you wanted to proceed
  13             to a jury trial or a waiver trial.        And
  14             your attorney represented to me that
  15             you would like to go to a waiver trial.
                               Page 16
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                             smobley(2).txt
  16                However, you've asked me to recuse
  17             myself, take myself off this case, now
  18             that I've heard so much about it, and I
  19             granted that motion, for a waiver
  20             trial.
  21                And so what we're going to do now,
  22             I'm going to colloquy you on your right
  23             to waive your right to a jury trial and
  24             then we will send you to another waiver


                                                            21
   1                COMMONWEALTH VS. MOBLEY
   2             room to a judge who knows nothing about
   3             this case for your trial.
   4                Do you understand that?
   5                THE DEFENDANT:   Yes, Your Honor.
   6                THE COURT:   You agree with
   7             everything with the recitation of the
   8             facts as I've laid them out as it
   9             relates to this colloquy?
  10                THE DEFENDANT:   Yes, Your Honor.
  11                THE COURT:   Okay.    Very good.   okay.
  12            so before I can accept your waiver of
  13            your jury trial rights, I am required
  14            by law to ask you certain questions to
  15            make sure that you understand that you
  16            have the absolute right to a jury
  17            trial, and that right is guaranteed to
  18            you by United States and Pennsylvania
  19            constitutions.
  20                Do you understand that?
  21               THE DEFENDANT: Yes, Your Honor.
                              Page 17
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  22                THE COURT:    so, sir, how old are
  23             you?
  24                THE DEFENDANT:    Thirty-eight, back


                                                              22
   1                COMMONWEALTH VS. MOBLEY
   2            when this --
   3                THE COURT:    Actually, pull that
   4             microphone closer to you.
   5                How far did you go in school?
   6                THE DEFENDANT:    Three years of
   7             college.
   8                THE COURT:    can you read, write and
   9             understand the English language?
  10                THE DEFENDANT:    Yes, I can.
  11                THE COURT:    Have you ever been or
  12             are you currently being treated for any
  13            mental illness?
  14                THE DEFENDANT:    Yes.
  15                THE COURT:    would that condition or
  16             any medication you may be on as a
  17             result of that condition affect your
  18             ability to understand what's going on
  19             here today?
  20                THE DEFENDANT:    No.
  21                THE COURT:    Are you under the
  22             influence of any drugs, alcohol or
  23             prescription medication that would
  24             affect your ability to understand


                                                              23
   1                COMMONWEALTH VS. MOBLEY
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                          smobley(2).txt
   2            what's happening here today?
   3                THE DEFENDANT:    No.
   4                THE COURT:    All right, sir.     I am
   5             showing you what's called a waiver of
   6             your jury trial rights form.
   7                Have you reviewed this form with
   8            your attorney?
   9               THE DEFENDANT:     Yes.
  10               THE COURT:     As I have advised you at
  11             the beginning of this colloquy is you
  12             have an absolute right to a jury trial
  13             as guaranteed to you by both the united
  14             states and Pennsylvania constitutions.
  15                Do you understand that?
  16               THE DEFENDANT:     Yes.
  17               THE COURT:     Okay.     With this form
  18            you give up your right to that jury
  19            trial, and at the bottom left-hand side
  20            of this form, is that your signature?
  21               THE DEFENDANT:     Yes.
  22               THE COURT:     Did you waive your right
  23            to a jury trial of your own free will?
  24               THE DEFENDANT:     Yes.


                                                              24
   1               COMMONWEALTH VS. MOBLEY
   2               THE COURT:     Are you completely
   3            satisfied with your attorney to this
   4            point?
   5               THE DEFENDANT:     Yes.
   6               THE COURT:     I must advise you that
   7            if you wanted a jury trial, the jury
                                 Page 19
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                         smobley(2).txt
   8            would consist of 12 citizens from the
   9            community.     You would be able to
 10             participate with your attorney in
 11             selecting that 12-member jury.        The
  12            jury would then listen to the facts of
  13            the case and decide whether you were
  14            guilty or not guilty of the charges
  15            against you.
 16                If the jury decided that you were
  17            guilty, that verdict would have to be
 18             unanimous; that is all 12 jurors would
  19            have to agree.
  20               Do you understand that?
  21               THE DEFENDANT:     Yes, I do.
  22               THE COURT:     According to the form
  23            that you have read and discussed and
  24            signed with your attorney, you're


                                                              25
   1               COMMONWEALTH VS. MOBLEY
   2            agreeing to give up your right to a
   3            jury trial and allowing the judge alone
   4            to listen to the facts of the case and
   5            decide whether you are guilty or not
   6            guilty of the charges against you.
   7               Do you understand that that is the
   8            form you have signed?
   9               THE DEFENDANT:     Yes.
 10                THE COURT:     And do you agree to have
 11             this case heard by me today alone
 12             without a jury?
 13                THE DEFENDANT:     Yes.
                                Page 20
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                          smobley(2).txt
  14               THE COURT: Has anyone promised you
  15            anything in exchange for your waiver of
  16            your right to a jury trial?
  17               THE DEFENDANT:       NO.
  18               THE COURT:    Have any threats been
  19            made to you to get you to give up your
  20             right to a jury trial?
  21               THE DEFENDANT:       No.
  22               THE COURT:    All right.       I am
  23            satisfied that the defendant is making
  24            a knowing, intelligent and voluntary


                                                               26
   1               COMMONWEALTH VS. MOBLEY
   2            waiver of his right to a jury trial,
   3            and I will accept the same.
   4               we will wait until this is assigned
   5            to another judge and then you can enter
   6            the plea.
   7               THE CRIER:    5/19.
   8               THE COURT:    5/19, 704.
   9               THE CRIER:    804.     I'm sorry.
  10
  11                (Reconsideration hearing concluded.)
  12
  13
  14
  15
  16
  17
  18
  19
                                Page 21
Case 2:18-cv-00924-PD   Document 15-3      Filed 05/03/18   Page 22 of 27




                              smobley(2).txt
  20
  21
  22

  23
  24



                                                            27
   1

   2                C E RT I F I C AT I 0 N
   3
   4
   5                I hereby certify that the
   6             proceedings and     evidence are contained
   7             fully and accurately in the notes taken
   8             by me on the matter of the above cause,
   9             and this copy is a correct transcript
  10             of same.
  11
  12
  13
                KIM TOWARNICKI
  14            official court Reporter
  15
  16                (THE FOREGOING CERTIFICATION OF THIS
  17             TRANSCRIPT DOES NOT APPLY TO ANY
  18             REPRODUCTION OF THE SAME BY ANY MEANS,
  19             UNLESS UNDER THE DIRECT CONTROL AND/OR
  20             SUPERVISION OF THE CERTIFYING
  21             REPORTER.)
  22
  23
  24



                                 Page 22
           Case 2:18-cv-00924-PD                                    Document 15-3   Filed 05/03/18   Page 23 of 27


                                                           EXh~b~~ G
   Ream 1of2
500 (1 to 500) of 791 pages




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 Request#16045126



OLUTOKUNBO EFUNNUGA
                       Case 2:18-cv-00924-PD              Document 15-3                         Filed 05/03/18   Page 24 of 27
MRO
1000 Madison Avenue
Suite 100
Norristown, PA 19403




                                     Sheree Mobley-Bradham
                                     Personal
                                     537 Orchard Ave.
                                     Yeadon, PA 19050




                                      Illllllll lllll Ill lllll lllll 111111111111111111111111111111111




      Shipment #10084348
      OLUTOKUNBOEFUNNUGA
      Invoice #16045126
      791 pages
              Case 2:18-cv-00924-PD                         Document 15-3                  Filed 05/03/18          Page 25 of 27

                                                                 MRO
                                                          1000 Madison Avenue

      Illlllll llllll Ill lllll lllll lllll lllll lllll l l l lllll llll llll Norris~o~~' ~: 19403
                                                              Ph: (610) 994-7500
                                                                                                            OMRO
                                                              Fx: (610) 962-8421

                                                         Tax ID (EIN) XX-XXXXXXX

                                                               Invoice
Date:                            3/17/2017                                                Invoice Number:         16045126

Your requested medical records are attached.                                             Tracking#: MFTZSFPABLWP7

Patient Name:                    OLUTOKUNBO EFUNNUGA

Medical Facility:                Mercy Fitzgerald Hospital

Requester:                       Sheree Mobley-Bradham
                                                                                                     To pay by credit card, go to www.roilog.com
Your reference number:                                                                               and enter the tracking number and the
                                                                                                     invoice number as the request number.


Search and Retrieval Fee:                                      $0.00                Due upon receipt. Please return this invoice
Number of Pages:                                                 779                along with a check payable to:
    Tier 1:                                                   $77.90
                                                                                    MRO
    Tier 2:                                                    $0.00                P.O. Box 6410
    Tier 3:                                                    $0.00                Southeastern, PA 19398-6410
Media pages/materials:                                                    0
Media fee:                                                     $0.00                Tax ID (EIN) XX-XXXXXXX
Certification fee:                                             $0.00
Adjustments:                                                   $0.00
Postage:                                                      $13.51
Sales Tax:                                                     $5.48
Total:                                                        $96.89
Paid at Facility:                                              $0.00
Paid to MRO:                                                     $0 00

Total Amount Due:                                             $96.89
                                                 INVOICE FOR COPIES OF MEDICAL RECORDS
MRO processes requests for copies of medical records on behalf of your healthcare provider. Federal and state laws permit healthcare
providers and companies like MRO to charge patients a "reasonable, cost-based fee" for copies of their medical records. (See 45 C.F.R. §
164.524(c)(4)). Releasing medical records is a time and labor intensive process. This fee covers the costs associated with pulling,
scanning, reproducing your records, and either printing them out or putting them on a CD for you to access. Pursuant to these laws, MRO
has invoiced you for the copies of the medical records that you requested.


By paying this invoice, you are representing that you have reviewed and approved the charges and have agreed to pay them. Any dispute
relating to this invoice must be presented before paying this invoice. Any dispute not so presented is waived. All disputes must be resolved
by arbitration under the Federal Arbitration Act through one or more neutral arbitrators before the American Arbitration Association. Class
arbitrations are not permitted. Disputes must be brought only in the claimant's individual capacity and not as a representative of a member
or class. An arbitrator may not consolidate more than one person's claims nor preside over any form of class proceeding.
                                                          Late Payment of Invoice Balance
If MRO does not receive payment for the balance on your invoice for your records within 30 dayswe may choose to pursue collections
processing.
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FI-EDCG14


       U Mercy Fitzgerald Hospital
          A rnemoer or Mercy Health ::.w.em
                                                          p                           EMERGENCY RECORD
Darby,       PA 19023

Aaaoun~    Ro:   F~1307223099                       Date:      10/07/16                Tiae:    0703               Unit Ho:   F001250217

DhTIENT          INFORMhTION

Raae:    EFUNNUGA,OLUTOKUNBO                                   DOB:   03/ 06/ 19 79        AGE:      37                   Pt Statu•: REG ER
Addr•••: 537 ORCHARD AVE                                       SEX: M                          MS:   S                     LOC/Srve: FIER
                                                              RACE:   M                                                   Rooa/Bed:
            LANSDOWNE,PA 19050                                LAl!IG: UNKNOWN                                        Acconodation:
Phone:       (000) 000-0000                                   ADM Src/Prior: HOM         /ER                         La•t DC Date:
SSR:        XXX-XX-0000                                       Religion: UNKNOWN
                                                              ChurC"h:



Occurrence Code: 11                       Occurrence Date:       10/07/16

PHYSICIAN INFORMATION

  Adaitting Phy•ician                             Attending or ER Physician                                      Primary Care Phy•ician
                                                  DOC,ED                                                         DOCTOR,NONE (FAMILY)

  Att Group:



NEXT OF KIN                                                                 PERSON TO NOTIFY

 Name: UNK,UNK                                                              Name: UNK,UNK
 Addr:                                                                      Addr:


Phone: (000)000-0000                                                       Phone: (000)000-0000
Other:                                                                     Oth•r:
Rel.at: UNKNOWN                                                            Ralat: UNKNOWN



EMPLOYER INFORMATION                              GUARANTOR INFORMATION

Baae: UNEMPLOYED                                  Baae: EFUNNUGA,OLUTORUNBO                                Eap: UNEMPLOYED
  Addr:                                           Addr: 537 ORCHARD AVE                                   Addr:

                                                        LANSDOWNE,PA 19050
 Phone:                                          Phone: (000)000-0000                                 Phone:
                                                  SSR: XXX-XX-0000                                   Status: UN
                                                 Ralat: SELF/ SAME AS


INSURANCE          INFORMATION                                                                                      Financial Class: SP

             SP
Pri:      SELF PAY                                 IRSjl2:                                                     IlilSl3:
Ad.cir:                                             Addr:                                                       Addr:



Phone:                                            Phone:                                                      Phone:
Policy I:                                       Poliayf:                                                    Policyl:
 Group I:                                        Groupf:                                                     Group#:
      Al:                                            Al:                                                         Af:
Sub•crb:                                        Sub•crb:                                                    Sub•crb:
Sub Eap: UNEMPLOYED                             Sub Eap:                                                    Sub Eap:
Rel.ation: SP                                  Relation:                                                   Relation:
 Statu•: PENDING                                 Status:                                                     Status:

IBSl4:



Rea•on For Vi•it: UNRESPONSIVE
Coaaent:
ISOLATION:                                                                                Privacy Notice Given?: N               (Date:
CO-Pay Collected: N      Mode o~ Arrival: AMBULANCE                                       COB Signed/Veri~iad:
Regi•tration Clerk: FIBIXBYK
b' lJHXll Y K                  email : NA                                                                     u•• eaail:
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Mercy Fitzgerald Hospital
EMERGENCY FLOW SHEET RECORD
Name: Efunnuga, Olutokunbo Age: 37Y MR: F001250247 Acct: FA1307223089
VITAL SIGNS       N-IM                   N.TM                     N.TM                    NJM                    N-IM
TIME              1017/2016 08:59        1017/2016 07:51          10nt2016 07:46          10n12016 07:44         1017/2016 07:39
BP                113n9                  142/91                   144/97                  139/94                 146/98
PULSE             -116-                  -119-                    -119-                   -120--                 -120--
RESP              -18-                   -20--                    -20--                   -20-                   -15-
TEMP
PAIN
02SAT             -100-- on Ventilator   -100- on Ventilator      -100- on Ventilator     -100-- on Ventilator   -100--

VITAL SIGNS       N-™                    N.TM                     NDTl
TIME              1017/2016 07:37        1017/2016 07:28          10nt2016 07:17
BP                149/96
PULSE             -120--
RESP
TEMP                                                              95.0
                                                                  <Reeta])
PAIN                                     0
                                         (No Complaint of Pain)
02SAT             -100-- on Ventilator




Name: Efunnuga, Olutokunbo Age: 37Y MR: F001250247 Acct: FA1307223089
Prepared: Sat Oct 08, 2016 20:53:16 by Interface   Page: 1
